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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                               BOWLING GREEN DIVISION

 MARILYN M. GARDNER,                                                                     Plaintiff,

 v.                                                       Civil Action No. 1:11-cv-79-DJH-LLK

 WESTERN KENTUCKY UNIVERSITY,
 et al.,                                                                              Defendants.

                                           * * * * *

                          MEMORANDUM OPINION AND ORDER

        Plaintiff Marilyn M. Gardner was hired by Defendant Western Kentucky University

 (WKU) in 2001 as an assistant professor in the school’s Department of Public Health. In 2006,

 she requested workplace accommodations to address myasthenia gravis, an autoimmune

 disorder. This lawsuit arises out of the defendants’ alleged wrongdoing in connection with those

 and later-requested accommodations. The defendants have filed a motion for summary judgment

 on Gardner’s remaining claims of retaliation and failure to accommodate. (Docket No. 30)

 Because Gardner has failed to establish a genuine dispute of material fact with respect to any of

 her claims, the motion for summary judgment will be granted.

                                                I.

        Summary judgment is required when the moving party shows, using evidence in the

 record, “that there is no genuine dispute as to any material fact and the movant is entitled to

 judgment as a matter of law.” Fed. R. Civ. P. 56(a); see 56(c)(1). For purposes of summary

 judgment, the Court must view the evidence in the light most favorable to the nonmoving party.

 Loyd v. Saint Joseph Mercy Oakland, 766 F.3d 580, 588 (6th Cir. 2014) (citing Anderson v.

 Liberty Lobby, Inc., 477 U.S. 242, 255 (1986)). However, the Court “need consider only the

 cited materials.” Fed. R. Civ. P. 56(c)(3); see Shreve v. Franklin Cty., Ohio, 743 F.3d 126, 136

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 (6th Cir. 2014). If the nonmoving party “fails to properly support an assertion of fact or fails to

 properly address another party’s assertion of fact as required by Rule 56(c),” the fact may be

 deemed undisputed for purposes of the motion. Fed. R. Civ. P. 56(e)(2)-(3). To survive a

 motion for summary judgment, the nonmoving party must establish a genuine dispute of material

 fact with respect to each element of each of her claims. Celotex Corp. v. Catrett, 477 U.S. 317,

 322-23 (1986) (noting that “a complete failure of proof concerning an essential element of the

 nonmoving party’s case necessarily renders all other facts immaterial”).

                                                 II.

        Gardner asserts claims of retaliation and failure to accommodate under the Americans

 with Disabilities Act (ADA), the Rehabilitation Act, and the Kentucky Civil Rights Act. As the

 three statutes are interpreted using the same standards, the following analysis applies to all of

 Gardner’s claims. See Jakubowski v. Christ Hosp., Inc., 627 F.3d 195, 201 (6th Cir. 2010)

 (citing Kleiber v. Honda of Am. Mfg., Inc., 485 F.3d 862, 872 (6th Cir. 2007)); Bryson v. Regis

 Corp., 498 F.3d 561, 574 (6th Cir. 2007) (citing Toyota Motor Mfg., Ky., Inc. v. Williams, 534

 U.S. 184, 190-91 (2002)).

 A.     Failure to Accommodate

        To withstand summary judgment on her claim of failure to accommodate, Gardner must

 make a prima facie showing on five elements: “(1) she is disabled under the meaning of the

 ADA; (2) she is otherwise qualified; (3) [WKU] knew or had reason to know of her disability;

 (4) she requested an accommodation; and (5) [WKU] failed to provide the necessary

 accommodation.” Burdett-Foster v. Blue Cross Blue Shield of Mich., 574 F. App’x 672, 680

 (6th Cir. 2014) (citing DiCarlo v. Potter, 358 F.3d 408, 419 (6th Cir. 2004)). The fifth element

 is not satisfied unless Gardner has identified the necessary accommodation. See id. (“‘The



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 employee also bears the burden of proposing reasonable accommodations; an employee’s claim

 must be dismissed if the employee fails to identify and request such reasonable

 accommodations.’” (quoting Johnson v. Cleveland City Sch. Dist., 443 F. App’x 974, 983 (6th

 Cir. 2011))); see also Willard v. Potter, 264 F. App’x 485, 487 (6th Cir. 2008) (“Implicit in the

 plaintiff’s duty to demonstrate that the employer failed to provide the necessary accommodation

 is the duty to identify the necessary accommodation.”). If she fails to establish a prima facie

 case, the Court need not consider whether she could reasonably have been accommodated.

 Willard, 264 F. App’x at 488 (citing Gaines v. Runyon, 107 F.3d 1171, 1176 (6th Cir. 1997)).

        According to Gardner, three requested accommodations are at issue in this case: (1) an

 office with natural light, (2) modification of her class schedules and office hours to reduce time

 required on campus, and (3) remote attendance at meetings. (D.N. 33 at PageID # 1860-61)

 However, she admits that she was given an office with a window, as requested, and that her

 schedule was adjusted so that she teaches all classes online and is not required to post regular

 office hours. (See D.N. 23 at PageID # 284; D.N. 33 at PageID # 1860-61) Thus, the only

 dispute pertains to her request to attend department meetings remotely.

        Gardner asked WKU to provide a means by which she could participate in meetings

 without being physically present. Specifically, she requested the use of a program called Adobe

 Connect. (D.N. 28 at PageID # 1447-48) But she acknowledges that Adobe Connect “did not

 work” and that another attempted accommodation, interactive video system, was similarly

 ineffective. (D.N. 33 at PageID # 1862) After Gardner complained that she could not hear other

 meeting participants and was unable to communicate on days when her condition affected her

 speech, WKU employed “a large conference telephone” intended for use in large meetings, and

 Gardner was told that she could submit written comments before or after meetings if she was



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 unable to speak. (D.N. 23-3 at PageID # 624) Gardner was also advised that any meeting

 absences due to her illness would be excused. (Id.)

        Gardner complains that “[r]ather than attempting to find a means to effectively allow

 remote access to meetings, Defendants have now limited her remote access to speaker phone.”

 (D.N. 33 at PageID # 1862) As noted above, however, she admits that the defendants tried at

 least two other accommodations, including the program she requested, without success. (See

 D.N. 33 at PageID # 1862) The defendants state that “WKU is unaware of any other technology

 that would accomplish what [Gardner] has demanded.” (D.N. 30-1 at PageID # 1833) Gardner’s

 response brief does not contain a single citation to the record showing that the current

 accommodation is inadequate; that she requested a more effective accommodation that was

 denied; or that the defendants were unwilling to provide a better accommodation if one were

 proposed. (See id. at PageID # 1857, 1861-63) Nor does she identify an accommodation she

 believes would be superior to the conference phone currently being utilized. In other words, she

 has presented no evidence that the accommodation she seeks even exists. To the extent Gardner

 faults the defendants for not providing this hypothetical accommodation, the Court finds that she

 has failed to identify and propose a reasonable accommodation. See Willard, 264 F. App’x at

 487; Cassidy v Detroit Edison Co., 138 F.3d 629, 635 (6th Cir. 1998) (affirming summary

 judgment for defendant where plaintiff’s request for allergen-free work environment “was

 simply too vague to reasonably inform Defendant of a reasonable accommodation, or was

 otherwise simply unavailable”; plaintiff failed to establish genuine issue of material fact as to the

 existence of such an environment). She thus fails to establish a prima facie case of failure to

 accommodate.




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        Notwithstanding this failure, Gardner appears to argue that she can base a cause of action

 on the defendants’ delay in responding to her initial request for accommodations, their

 requirement of doctor-recommended accommodations, and their alleged failure to engage in the

 interactive process required under ADA regulations. (See D.N. 33 at PageID # 1859) Her

 argument on these points is meritless. First, an employer’s failure to engage in the interactive

 process is not actionable where the plaintiff has not made “a prima facie showing that [s]he

 proposed a reasonable accommodation.” Rorrer v. City of Stow, 743 F.3d 1025, 1041 (6th Cir.

 2014); see also Willard, 264 F. App’x at 488. Likewise, any delay in providing the requested

 accommodations is irrelevant because Gardner admits that she ultimately received those

 accommodations. See Gerton v. Verizon S., 145 F. App’x 159, 168 (6th Cir. 2005).

        Finally, Gardner’s contention that the defendants violated the ADA by requiring medical

 proof of her need for accommodations is contrary to Sixth Circuit law.

        An “employer need not take the employee’s word for it that the employee has an
        illness that may require special accommodation. Instead, the employer has the
        ability to confirm or disprove the employee’s statement. If this were not the case,
        every employee could claim a disability warranting special accommodation yet
        deny the employer the opportunity to confirm whether a need for the
        accommodation exists.”

 Kennedy v. Superior Printing Co., 215 F.3d 650, 655 (6th Cir. 2000) (quoting EEOC v. Prevo’s

 Family Market, Inc., 135 F.3d 1089, 1094-95 (6th Cir. 1998)). WKU was entitled under the

 ADA to require medical documentation showing that the accommodations Gardner requested

 were necessary. See id. (noting that “[t]he ADA ‘permits employers . . . to make inquiries or

 require medical examinations necessary to the reasonable accommodation process.’” (omission

 in original) (quoting 29 C.F.R. pt. 1630, App. § 1630.14(c))).       In any event, Gardner has

 presented no evidence that she was denied an accommodation for lack of doctor approval.




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 B.     Retaliation

        With respect to her claim of retaliation, Gardner must make a prima facie showing that

 (1) she engaged in protected activity; (2) WKU was aware of her protected activity; (3) WKU

 took adverse action against her; and (4) “there was a causal connection between the protected

 activity and the adverse action.” A.C. v. Shelby Cty. Bd. of Educ., 711 F.3d 687, 697 (6th Cir.

 2013) (citing Gribcheck v. Runyon, 245 F.3d 547, 550 (6th Cir. 2001)). To constitute an adverse

 action, “a retaliatory action must be enough to dissuade a reasonable person from engaging in the

 protected activity; ‘petty slights or minor annoyances’ cannot qualify.” Id. at 698 (quoting

 Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 68 (2006)). Gardner’s retaliation

 claims fail because neither of the retaliatory acts she identifies—failing to compensate her as

 agreed for her work on a report and requiring updated information regarding her disabilities—

 amounts to adverse action.

        1.     Compensation for CEPH Report

        In fall 2007, Gardner assumed responsibility for preparing a report related to the School

 of Public Health’s accreditation (the “CEPH report”). (D.N. 23 at PageID # 313-14) She

 contends that she and then-department head Dr. Gary English reached an agreement in October

 2007 regarding the compensation she would receive for her work on the report, which took

 several months. (D.N. 33 at PageID # 1853) Gardner sent an e-mail to English on October 10,

 2007, outlining her compensation requests. (D.N. 23 at PageID # 313) She testified that English

 “agreed verbally to the[] conditions” set out in her e-mail. (Id. at PageID # 314) However, she

 received no written response until February 14, 2008, after she sent a follow-up message to

 English seeking confirmation of their agreement. (See id. at 315) In his February 14 response,

 English informed Gardner that he could not agree to some of her requests. (Id.)



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           According to Gardner, WKU’s failure to pay her the agreed-upon compensation

 constitutes retaliation because English’s response came the day after a meeting was held to

 discuss her requested accommodations. (See D.N. 33 at PageID # 1868) During or immediately

 following the meeting, Gardner had raised the issue of the CEPH report and was advised by

 associate vice president Dr. Richard Miller to obtain written confirmation of her agreement with

 English. (See id. at PageID # 1855; D.N. 23 at 314-15; D.N. 26 at PageID # 1067) Because

 “[s]he never received the agreed[-]upon compensation,” Gardner contends, “there is a temporal

 relationship between the protected activity of requesting accommodations and the adverse

 employment action of failure to be compensated as agreed upon for CEPH.” (D.N. 33 at PageID

 # 1868)

           While she recites the elements of a prima facie case of retaliation and notes that “[a]

 temporal proximity between the protected activity and the adverse employment action can

 provide [the necessary] causal connection,” Gardner does not attempt to establish that the

 “failure to be compensated as agreed upon” for the CEPH report constitutes an adverse action.

 (Id. at 1867-68) She points to no evidence of a discrepancy between the compensation she

 sought and the compensation she actually received.1          In short, Gardner has not presented

 evidence from which the Court could find that the defendants’ failure to honor Gardner’s

 compensation requests was “enough to dissuade a reasonable person from engaging in the

 protected activity.” A.C., 711 F.3d at 698.

           Nor has Gardner shown a causal relationship between her protected activity of requesting

 accommodations—which occurred sometime in January 2008—and the supposedly adverse

 decision not to compensate her as previously agreed. Temporal proximity alone may satisfy the



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     Gardner testified that only “parts of” her proposal were rejected. (D.N. 23 at PageID # 315)
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 causal-connection element, but only “where the adverse action comes ‘very close in time after

 the exercise of protected activity.’” Id. at 699 (quoting Mickey v. Zeidler Tool & Die Co., 516

 F.3d 516, 525 (6th Cir. 2008)). Here, the lapse of at least two weeks between Gardner’s request

 for accommodations and WKU’s negative response concerning the CEPH report is not

 “sufficient to allow an inference” that the response would have been different had Gardner not

 made the request, and Gardner has offered no other evidence suggesting a connection between

 the two events. Id. (internal quotation marks omitted).

        2.      March 2010 Information Request

        Also retaliatory, Gardner contends, was a March 2010 memorandum she received from

 Huda Melky, director of WKU’s Office of Equal Opportunity/Affirmative Action/University

 ADA Services, requesting that Gardner provide “updated information concerning [her] physical

 limitations and recommended accommodations.” (D.N. 29-1 at PageID # 1790; see D.N. 33 at

 PageID # 1868) Gardner asserts that she thus “was required to requalify as a person with a

 disability” and that this constituted an “adverse employment act.” (D.N. 33 at PageID # 1868)

 Again, however, she makes no attempt to show that Melky’s memorandum was “enough to

 dissuade a reasonable person from engaging in the protected activity.” A.C., 711 F.3d at 69

 (internal quotation marks omitted).

        Nor could she credibly make such an argument. Being required to provide updated

 medical information—some of which pertained to Gardner’s February 2010 request for new

 accommodations related to her hearing—is at most a “minor annoyance[].” Id. And as noted in

 the memorandum, the request Gardner received was consistent with WKU policy. (D.N. 29-1 at

 PageID # 1790; see D.N. 23-2 at PageID # 538 (Gardner’s original accommodation-request

 form, signed by Gardner in 2006, stating that the requester “understand[s] that the University



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 may request additional personal health or medical information”)) In light of Gardner’s request

 for new accommodations in February 2010, there is nothing inherently suspicious about the

 memorandum she received from Melky a few weeks later, and Gardner has presented no

 evidence suggesting that the request for updated information was retaliatory. Because she has

 not shown that she suffered any adverse action, Gardner fails to establish a prima facie case of

 retaliation.

                                                III.

          Gardner has not established a prima facie case of retaliation or failure to accommodate.

 Accordingly, it is hereby

          ORDERED that the defendants’ Motion for Summary Judgment (D.N. 30) is

 GRANTED. A separate judgment will be entered this date.
 September 9, 2015




                                                            David J. Hale, Judge
                                                         United States District Court




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